Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 1 of 11

Exhibit 12

U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS People’s Republic of China, Country of,
ET AL A19-CV0647RP filed July 8, 2019 Affidavit of Service providing
evidence of delivery but justifying reasons the U.S. Attorney General never
really received his delivery of case A19-CV0647RP from the USPS as shown
on the certified return receipt denying the U.S. Citizens’ rights to counsel
Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 2 of 11

UNITED STATES DISTRICT COURT

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VICKI FANNING MCLEAN CIVIL ACTION: A19-CV-0647
ESTATE OF JAMES MCLEAN JUDGE ROBERT PITMAN
ESTATE OF LOUIS FANNING, SR PATRIOT ACT OF 2001

EX REL ESPIONAGE ACT OF 1917

UNITED STATES OF AMERICA ALIEN REGISTRATION ACT 1940

PLAINTIFFS IMMIGRATION AND
NATURALIZATION ACT OF
1924 AND 1952
VS SEDITION ACT OF 1918
MCCARREN-WALTERS
ACT OF 1952
PEOPLE’S REPUBLIC OF CHINA,
COUNTRY OF TRADING WITH THE ENEMY
1924 TO PRESENT ACT OF 1917, 1939
MICHELLE KWOK LEE, BANK SECRECY ACT OF 1970
FORMER U.S. DIRECTOR OF THE
PATENT AND TRADEMARK RACKETEER INFLUENCED AND
OFFICE CORRUPT ORGANIZATIONS
ACT OF 1970
ELAINE LAN CHAO, U.S.
SECRETARY OF INTERNATIONAL IN TRAFFIC
TRANSPORTATION IN ARMS REGULATION OF 1976
JAMES SI-CHENG CHAO SOCIAL SECURITY ACT OF
1935 AND 1965

RUTH MULAN CHU CHAO
Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 3 of 11

FOREMOST GROUP, INC. CIVIL RIGHTS ACT OF 1964

ANGELA CHAO INVENTIONS SECRECY ACT OF
~ HARVARD UNIVERSITY INTERNAL SECURITY ACT OF |

1913 TO PRESENT

ILLEGAL IMMIGRATION

PRISCILLA CHAN, SPOUSE OF REFORM AND IMMIGRANT

MARK ZUCKERBERG CO- RESPNSIBILITY ACT OF 1996

FOUNDER OF FACEBOOK

EMPLOYMENT RETIREMENT
STEVEN SHIH CHEN, INCOME SECURITY ACT OF 1974
CO-FOUNDER OF YOUTUBE

CHAN ZUCKENBERG INITIATIVE

STEVE S. CHEN, FOUNDER OF
SUPERCOMPUTER SYSTEMS, INC.

SHIING-SHEN CHERN, AWARDED
THE WOLF PRIZE

PAUL CHING-WU CHU, PROFESSOR
AT UNIVERSITY OF HOUSTON

JU-CHIN CHU, FORMER PROFESSOR
AT VIRGINIA TECH °

STEVEN CHU, FORMER U.S. SECRETARY
OF ENERGY

TSUNG-DAO LEE, FORMER PROFESSOR
AT COLUMBIA UNIVERSITY

YUAN-TSEH LEE, FORMER PROFESSOR
AT UNIVERSITY OF CALIFORNIA,
BERKELEY

SAMUEL C. C. TING, PROFESSOR
AT MASS INSTITUTE OF TECHNOLOGY
Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 4 of 11

DANIEL C. TUSI, FORMER PROFESSOR
AT PRINCETON UNIVERSITY

AU WANG, FOUNDER OF
WANG LABORATORIES

DAVID S. C. CHU, FORMER USS.
UNDER SECRETARY OF DEFENSE FOR
PERSONNEL AND READINESS

JOHN LIU FUGH, RETIRED MAJOR
GENERAL IN U.S. ARMY

CHRIS LU, FORMER U.S. DEPUTY
SECRETARY OF LABOR

TINA TCHEN, FORMER U.S. CHIEF
OF STAFF TO THE FIRST LADY
MICHELLE OBAMA

ANDREW YANG, FOUNDER
OF VENTURE OF AMERICA

JUDY CHU, U.S. REPRESENTATIVE
OF CALIFORNIA

CHARLES DJOU, U.S. REPRESENTATIVE
OF HAWAII

HIRAM FONG, FORMER U.S. SENATOR
FROM HAWAII
Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 5 of 11

AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP

Motion to record the certified return receipt of the delivery of Vicki McLean, ET AL
EX REL USA VS PEOPLE’S REPUBLIC OF CHINA, ET AL to the U.S. Attorney
General William Barr under USPS tracking number 7018 0680 0001 0268 4953

mailed on June 25, 2019 and indicating received on June 28, 2019.

Due to being absolutely certain that all previous USPS mailings of federal cases filed
by Vicki McLean, ET AL EX REL USA were never really delivered to the U.S.
Attorney Generals of the United States and the U.S. Attorney except for the ones
hand delivered personally to the New Orleans U.S. Attorney office in 2015 — April
of 2018 there is great certainty that U.S. Attorney General William Barr never
actually was allowed to receive U.S. District Court of Western District of Texas Case
A19-CV-0647-RP AND A19-CV0648-RP similar to U.S. District Court of Western
District of Texas Case Al8-CV-1021 RP denying the Vicki McLean, ET AL EX
REL USA and the U.S. Citizens their rights to counsel and due process having
altered the original filing indicated in the forged order of Judge Robert Pitman dated
on June 18, 2019 for case A18-1021-RP that required Judge Pitman to address the
case having been filed also for the U.S. Citizens requiring the U.S. Attorney General
to file in a motion to address the non-acceptance of the case for the U.S. Citizens
with reasoning. Due to Acting U.S. Attomey General Matthew Whitaker and U.S.
Attorney General William Barr obviously having no knowledge of the case A18-
1021-RP that includes all previous federal cases filed by Vicki McLean for the U.S.
Citizens beginning on Dec. 21, 2007 in U.S. District Court of Eastern District of
Louisiana in New Orleans 07-9717 with Judge Thomas Porteous and Magistrate
Daniel Knowles no motion was filed by the U.S. Attorney General Office to accept,

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Case 1:19-cv-03312-CKK Document 1-13 Filed 11/04/19 Page 6 of 11

to reject, or dismiss the case denying the U.S. Citizens and Vicki McLean ET AL
rights to counsel and rights to due process. It was proven in Magistrate Judge Daniel
Knowles, III courtroom on 12/29/2015 in New Orleans when Vicki McLean gave
testimony that Magistrate Judge Daniel Knowles and Judge Thomas Porteous never
received case 07-9717 assigned to their court filed EX REL United States of
America. The Medicare and Medicaid fraud exposed in case 07-9717 has been so
massive by the Federal Reserve Shareholders since 1998 that no federal judge would
ever be allowed to grant the U.S. Citizens their rights to due process or rights to
counsel. For these reasons all of Vicki McLean’s EX REL USA cases have been
altered and forged the judges’ orders and the assistant U.S. Attorneys motions
dismissing the cases never allowing Vicki McLean in front of the real Federal Judges
assigned the case. After meeting in court with Magistrate Judge Daniel Knowles, III
and Assistant U.S. Attorney James Beabr from the New Orleans U.S. Attorney on
Dec. 29, 2015 giving testimony and handing the previously filed federal cases filed
EX REL USA by Vicki McLean Judge Daniel Knowles, III and U.S. Attorney Office
in New Orleans had all the proof they needed that all Vicki McLean’s EX REL Cases
were never received by federal judges and the U.S. Attorney General Office and U.S.
Attorney in Charge also never received the cases denying the U.S. Citizens their
rights to due process and their rights to counsel. All testimony of Vicki McLean,
Federal Judge Daniel Knowles, Assistant U.S. Attorney James Baehr, and all
witnesses testimonies given on Dec. 29, 2015 were altered drastically in the file
records of the citation case hearing 15-CR-0205 including the Notice of Appeal filed
within a week. A motion to leave was filed in the case addressing alteration and
deletion of records and exhibits filed with the Notice of Appeal for 15-CR-0205. The
Appeal was denied being a forgery by 3 judges from the Fifth Circuit Court of
Appeals. The U.S. District Clerk Office in New Orleans and Federal Judge Daniel

Knowles refusing to notify the Foreign Intelligence Surveillance Court of the

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forgeries and forgeries of Intelligence Judge Martin Feldman resulted in the murder
of plaintiff Alexander Fanning in Dallas in May 2018 one month after filing federal
case 18-3462 in the Eastern District of Louisiana, New Orleans District assigned
originally with Judge Martin Feldman on April 2, 2018. Alexander Fanning murder
was falsely classified as a suicide and was done to intimidate Vicki McLean family
members living in Louisiana which is 7 out of 9 siblings to be used again like in
2005 and 2011 to do a illegal arrest and illegally psychiatric commitment based on
fraudulent Order for Protective Custody that would be forged like in 2005 and 2011
to aid in justification of dismissal of all cases placed under Judge Martin Feldman
without his knowledge since Sept. 28, 2016 so no assistant U.S. Attorney would be
needed to file a motion to dismiss if placed with the Judge Martin Feldman on
Sept.28, 2016 being at the time a member of the Foreign Intelligence Surveillance
Court. Clearly the U.S. Federal Court System and U.S. Attorney Office in New
Orleans is liable for the murder of Alexander Fanning due to not fulfilling their oath
of office to uphold the U.S. Constitution and their moral obligation to put others

lives first before their lives just by revealing the truth and recording the truth.

This is why the physical and financial attacks on the McLean family and the Fanning
Clan continues in order to stop the Foreign Intelligence Surveillance Court actually
in charge of all Vicki McLean’s federal cases surely including A18-1021-RP and
A19-CV-5091-RP, A19-CV-0647-RP, A19-CV-0648-RP to stop Vicki McLean
from continuing to file cases against different defendants under the Patriot Act, etc.
to better enable the FISC to address all individuals, governments, and entities

involved in the massive theft of U.S. funds, etc.

It is certain that all past orders and future orders dismissing cases filed by Vicki
McLean, ET AL EX REL USA have been and will be forged denying Vicki McLean,
ET AL and the U.S. Citizens their rights to counsel and rights to due process. In the

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Western District of Texas, Austin Division the likely universities involved in the
forgery of judges’ order and attorney’s motions would be the University of Texas,
Texas A&M and Harvard University. The University of Texas and Texas A&M
involvement in altering and forging the judge’s orders and attorney motions of Vicki
McLean federal and state cases were addressed in a federal case filing in the U.S.
District Court of Eastern Louisiana 17-5578. Vicki McLean intends to file a separate
case against Harvard University in Boston in the future to address all Harvard
University involvement in the forging of the judges’ orders of Vicki McLean’s
federal cases and Supreme court justices orders. There is a very high probability due
to case 17-5578 that Harvard University was involved in the forgery of U.S. District
Court of Eastern District of Louisiana cases 16-15001, 18-911, and of U.S. District
Court of Western District of Texas Case A18-1021-RP. The forgery of Judge Robert
Pitman’s order on 6/18/2019 becomes obvious when the order does not acknowledge
the case filed for the U.S. Citizens and no mention of no motion being filed by the
U.S. Attorney General Office to either accept, reject, or motion to dismiss the case.
Consistent with all previously filed EX REL Cases by Vicki McLean the original
filing filed by Vicki Mclean Pro Se was altered to remove all information to protect
the Federal Reserve Shareholders and all universities involved in the forgery of all
previously filed Vicki McLean, ET AL EX REL USA, Pro Se.

Respectfully submitted Pro Se
for the U.S. Citizens and: Plaintiffs

Pro Se, Aly 8, 7019

the A fe.
Vicki Fanning McLean, Pro SE
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Spring, Texas 77379

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Vickimclean54@yahoo.com

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AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP
USPS TRACKING PACKAGE 7018-0680-0001-0268-4954
USPS TRACKING RETURN RECEIPT 9590 9402 5076 9092 3001 24
ORIGINAL PROVIDED TO U.S. DISTRICT CLERK OFFICE ON JULY 8TH
WITH THIS AFFIDAVIT OF SERVICE MOTION GIVING
REASONS WHY THERE IS GREAT CERTAINTY THAT
THE U. 8S. ATTORNEY GENERAL WILLIAM BARR NEVER
RECEIVED CASES A1i9-CV-0647-RP OR A19-CV-0648-RP BUT WAS
REALLY STOLEN AND TAKEN TO THE UNDERGROUND
DENYING THE U.S. CITIZENS THEIR RIGHTS TO COUNSEL LIKE
ALL VICKI MCLEAN PREVIOUS FEDERAL CASES FILED EX REL USA

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